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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:22-CV-23753-KMM

 EDWIN GARRISON, et al. on behalf of
 themselves and all others similarly
 situated,

        Plaintiff,

 v.

 SAM BANKMAN-FRIED, et al.,

       Defendants.
 __________________________________/

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby gives

 notice of dismissal of this action in its entirety, without prejudice. At the time of this filing,

 no Defendants have been served with the summons or complaint in this action, and no

 Defendant has filed an answer or a motion for summary judgment in this action.


 Dated: December 8, 2022                             Respectfully Submitted,


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